Case 2:04-cV-02515-.]P|\/|-de Document 12 Filed 08/08/05 Page 1 of 2 Page|D 27

UNITED sTATEs DISTRICT coURT *'"E° B"'%-w
wEsTERN DISTRICT oF TENNESSEE OSAUs-s PH 3; ¢¢,
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WALTER McGHEE, JUDGMENT IN A cIvIL cAsE

Plaintiff,
V.
oFFIcER BoYcE, cAsE No: 04-2515 Ml/v

Dafendant.

.J'uDGME:NT

 

JUDGMENT BY COURT. This action came to consideration before the

Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Order Granting Defendant’S Motion for Summary Judgment,
Order Dismissing Complaint, and Order Certifying Appeal Not Taken
in Good Faith, entered August 8, 2005, this case is DISMISSED.

APPROVED:

0 MUL@

JO P. MCCALLA
U TED STATES DISTRICT COURT

 

Ac¢\/g, 2005 THOMASM.GOL|LD
Dadé,/ Clerk of Court

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This document entered on the docket eat |n compliance
with Hule 58 and/or 79(a) FRCP on “ “O 5 /

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02515 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

